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MA Case 4:21-cr-00102-CVE Document 65 Filed in

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AO 442 (Rev. 10/13) Arrest Warrant

UNITED STATES DISTRICT COURT | aR

for the

USDC ND/

iL

Northern District of Oklahoma

caseNo. O21 CR 102 que

JUL 01 2021

 

United States of America )
V. )
)
SHAUNI BREANNE CALLAGY )
Defendant )
ARREST WARRANT
To: Any authorized law enforcement officer

 

K on 07/01/21

Mark C.

a

McCarit, Clerk

U.S. DISTRICT COURT

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) SHAUN] BREANNE CALLAGY,
who is accused of an offense or violation based on the following document filed with the court:

J Indictment LL) Superseding Indictment 1 Information

(] Superseding Information LJ) Complaint

() Probation Violation Petition (J Supervised Release Violation Petition [J Violation Notice [J Order of the Court

This offense is briefly described as follows:

21 U.S.C. §§ 846 and 841(b)(1)(A)(viii) — Drug Conspiracy

21 U.S.C. §§ 856(a)(1) and 856(b) — Maintaining a Drug-Involved Premises
21 U.S.C. §§ 856(a)(1) and 856(b) — Maintaining a Drug-Involved Premises

21 U.S.C. § 853, 18 U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461 — Drug and Racketeerit

Date: MAR 25 2021

City and state: Tulsa, Oklahoma

Ll.” signature

Mark MéCartt. Court Clerk

Printed name and title

 

Return

 

At (city and state) Spei cafield, ho

Date:

 

 

This warrant was received on (date) 3 1D 5 : LOD | , and the person was arrested on (date)

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Arresting officer's signature

Fh mel,

rinted name and title

cS: pr thn

 

TED/kb

For BEA md

 
